      Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 1 of 14




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


BATTLE BORN INVESTMENTS
COMPANY, LLC,

          Plaintiff,
                                           Civil Action No. 24-0067 (BAH)
     v.

DEPARTMENT OF JUSTICE,

          Defendant.



            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
               AND MEMORANDUM IN SUPPORT THEREOF
            Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 2 of 14




                                                  TABLE OF CONTENTS

BACKGROUND ........................................................................................................................... 1

I.       Silk Road Black Market ....................................................................................................... 1

II.      Individual X Steals from Silk Road ..................................................................................... 2

III.     Civil Forfeiture Proceedings ................................................................................................ 3

IV.      FOIA Request....................................................................................................................... 4

LEGAL STANDARD .................................................................................................................... 5

ARGUMENT ................................................................................................................................. 6

V.       Exemptions 6 and 7(C) ........................................................................................................ 6

VI.      Exemption 7(F) .................................................................................................................... 9

CONCLUSION ........................................................................................................................... 10




                                                                      i
             Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 3 of 14




                                                TABLE OF AUTHORITIES

CASES

ACLU v. Fed. Bureau of Prisons,
Civ. A. No. 20-2320 (RBW), 2022 WL 17250300 (D.D.C. Nov. 28, 2022)................................... 9

Anderson v. Liberty Lobby, Inc.,
477 U.S. 242 (1986) ........................................................................................................................ 5

Citizens for Resp. & Ethics in Wash. v. Dep’t of Just.,
854 F.3d 675 (D.C. Cir. 2017)..................................................................................................... 6, 7

Elec. Priv. Info. Ctr. v. Dep’t of Just.,
18 F.4th 712 (D.C. Cir. 2021) ..................................................................................................... 6, 8

Evans v. Fed. Bureau of Prisons,
951 F.3d 578 (D.C. Cir. 2020)......................................................................................................... 6

Fund for Const. Gov’t v. Nat’l Archives & Recs. Serv.,
656 F.2d 856 (D.C. Cir. 1981)......................................................................................................... 7

Groenendal v. Exec. Off. for U.S. Att’ys,
Civ. A. No. 20-1030 (DLF), 2024 WL 1299333 (D.D.C. Mar. 27, 2024) ............................ 7, 8, 10

Jordan v. Drug Enf't Admin.,
Civ. A. No. 22-2195 (JEB), 2023 WL 2809132 (D.D.C. Apr. 6, 2023) .......................................... 5

Jud. Watch, Inc. v. Nat’l Archives & Recs. Admin.,
876 F.3d 346 (D.C. Cir. 2017)......................................................................................................... 7

Nat’l Archives & Recs. Admin. v. Favish,
541 U.S. 157 (2004) ........................................................................................................................ 7

Pub. Emps. for Env’t Resp. v. U.S. Section, Int’l Boundary & Water Comm’n, U.S.-
Mexico,
740 F.3d 195 (D.C. Cir. 2014)......................................................................................................... 9

Reps. Comm. for Freedom of the Press v. FBI,
3 F.4th 350 (D.C. Cir. 2021) ..................................................................................................... 8, 10

Roth v. Dep’t of Just.,
642 F.3d 1161 (D.C. Cir. 2017) ...................................................................................................... 6

Sussman v. Marshals Serv.,
494 F.3d 1106 (D.C. Cir. 2007) ....................................................................................................... 7




                                                                      ii
             Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 4 of 14




United States v. Approximately 69,370 Bitcoin,
Civ. A. No. 20-7811, 2022 WL 888655 (N.D. Cal. Mar. 25, 2022) ........................................ 1, 4, 9

United States v. Battle Born Invs. Co., LLC,
No. 22-16348, 2023 WL 5319258 (9th Cir. Aug. 18, 2023) ....................................................... 3, 4

STATUTES

5 U.S.C. § 552 ......................................................................................................................... 1, 6, 9

RULES

Fed. R. Civ. P. 56......................................................................................................................... 1, 5




                                                                      iii
          Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 5 of 14




         The United States Department of Justice (“Defendant” or “Department”), parent agency of

the Executive Office for United States Attorneys (“EOUSA”), through undersigned counsel,

respectfully moves for summary judgment on Battle Born Investments Company LLC’s

(“Plaintiff’s”) Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, claim under Federal Rule

of Civil Procedure (“Rule”) 56 and Local Rule 7(h).

                                        BACKGROUND

I.       Silk Road Black Market

         “From 2011 until October 2013, when it was seized by law enforcement, Silk Road was

utilized by thousands of drug dealers and other vendors to distribute hundreds of kilograms of

illegal drugs and other unlawful goods and services to well over 100,000 buyers, and to launder

hundreds of millions of dollars derived from these illegal transactions.” United States v.

Approximately 69,370 Bitcoin, Civ. A. No. 20-7811, 2022 WL 888655, at *1 (N.D. Cal. Mar. 25,

2022).

         “The only form of payment accepted on Silk Road was Bitcoin.” Id. “During its operation,

Silk Road generated sales revenue totaling over 9.5 million Bitcoin, and collected commissions

from these sales totaling over 600,000 Bitcoin.” Id. “Silk Road used a so-called ‘tumbler’ to

process Bitcoin transactions in a manner designed to frustrate the tracking of individual

transactions through the Blockchain and thereby assist with the laundering of criminal proceeds.”

Id.

         “The creator of Silk Road, Ross Ulbricht, was arrested in San Francisco on October 1,

2013, and charged in the Southern District of New York with narcotics trafficking conspiracy,

computer hacking conspiracy, and money laundering conspiracy.” Id. “That same day, law

enforcement took down the Silk Road website and seized its servers, including all Bitcoins

contained in wallets residing within them.” Id. “The following day, the government filed a civil
         Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 6 of 14




action in the Southern District of New York seeking, among other things, forfeiture of the Silk

Road hidden website, any and all Bitcoins contained in wallet files residing on Silk Road servers,

and all property traceable thereto.” Id. “A judgment and order of forfeiture was entered in that

action in 2014.” Id.

       “In February of 2015, a federal jury convicted Ulbricht on seven counts including

conspiracy to distribute narcotics and money laundering.” Id. at *2. “He was ultimately sentenced

to double life imprisonment plus forty years, without the possibility of parole.” Id.

II.    Individual X Steals from Silk Road

       “In 2020, law enforcement officers used a third-party bitcoin attribution company to

analyze Bitcoin transactions executed by Silk Road.” Id. “They saw that on May 6, 2012,

[fifty-four] transfers were made from Bitcoin addresses controlled by Silk Road to two Bitcoin

addresses, abbreviated as 1BAD and the 1BBq.” Id. “These [fifty-four] transactions were not noted

in the Silk Road database as vendor or Silk Road employee withdrawals and therefore appeared to

represent Bitcoin that was stolen from Silk Road.” Id.

       “Nearly a year later, most of the Bitcoin at 1BAD and 1BBq was transferred to an address

abbreviated as 1HQ3.” Id. “Other than a relatively small transfer out in 2015, the nearly 70,000

Bitcoin remained at 1HQ3 until its seizure by the government in late 2020.” Id. “During that time,

its value grew from approximately $14 million to over $3.5 billion.” Id.

       “According to an investigation conducted by the Criminal Investigation Division of the

Internal Revenue Service and the U.S. Attorney’s Office for the Northern District of California,

Individual X was the individual who hacked into Silk Road and moved the cryptocurrency to

1BAD and 1BBq, and subsequently to 1HQ3.” Id. “The investigation further revealed that Ulbricht

became aware of Individual X’s online identity and threatened Individual X for return of the

cryptocurrency to Ulbricht.” Id. “Individual X did not return the cryptocurrency.” Id.


                                                 2
         Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 7 of 14




III.   Civil Forfeiture Proceedings

       On November 3, 2020, “Individual X signed a Consent and Agreement to Forfeiture with

the U.S. Attorney’s Office, Northern District of California in which he or she consented to the

forfeiture of the subject Bitcoin.” Id. “That same day, the government took custody of the Bitcoin

from 1HQ3.” Id. Two days later, on November 5, 2020, the United States filed a complaint for

forfeiture in the United States District Court for the Northern District of California to seize the

subject Bitcoin. See Complaint, United States v. Approximately 69,370 Bitcoin, Civ. A. No. 20-

7811 (N.D. Cal. Nov. 5, 2020), ECF No. 1.

       Numerous parties filed a claim of ownership to the subject Bitcoin; three are relevant for

this case: (1) First 100, LLC; (2) 1st One Hundred Holdings, LLC; and (3) Battle Born

Investments, who is Plaintiff in this FOIA case. See United States v. Battle Born Invs. Co., LLC,

No. 22-16348, 2023 WL 5319258, at *1 (9th Cir. Aug. 18, 2023). Their claims to the subject

Bitcoin arose out of a Chapter 7 bankruptcy action filed in the United States Bankruptcy Court for

the District of Nevada under case number 17-14166. Id. The debtor in the bankruptcy action was

a person named Raymond Ngan. Id. In March 2017, two of the parties – First 100 and 1st One

Hundred Holdings – jointly and severally obtained a $2,211,039,718.46 judgment against Ngan.

Id. In March 2018, the third party – Battle Born Investments – entered into an agreement to

purchase from the Chapter 7 trustee all assets of the bankruptcy estate. Id.

       In the civil forfeiture proceedings (as opposed to the bankruptcy action), the three parties

filed claims asserting that the bankruptcy action “was filed by an individual who, upon information

and belief, is, or is associated with, Individual X.” Id. Thus, both First 100 and 1st One Hundred

Holdings claimed that they were innocent owners of all of the subject Bitcoin for the forfeiture

proceeding pursuant to their status as judgment creditors. Id. Battle Born Investments asserted it




                                                 3
         Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 8 of 14




was an innocent owner of all of the subject Bitcoin from the forfeiture proceeding pursuant to its

status as the purchaser of the bankruptcy estate. Id.

       The United States moved to strike the parties’ claims in the civil forfeiture case, and the

court granted the motion:

       Apart from sheer speculation that Ngan may have had some association with
       Individual X, Battle Born can offer nothing to suggest how Ngan would have come
       into ownership of the Bitcoin in 1HQ3 wallet, much less lawful ownership that
       would have made the Bitcoin part of the bankruptcy estate. . . . Because it has not
       pleaded facts—as opposed to conclusions—that plausibly put the 1HQ3 wallet into
       the bankruptcy estate it purchased, the motion to strike must be granted.

Approximately 69,370 Bitcoin, 2022 WL 888655, at *5.

       On August 18, 2023, the Ninth Circuit affirmed:

       Reviewing the record de novo, we conclude that the Battle Born parties failed to
       carry their burden to establish some evidence, beyond a mere assertion, of
       ownership of the Defendant Property, from which a reasonable and fair-minded jury
       could find that they have standing. In addition to their verified claims, the Battle
       Born parties rely on five declarations to establish evidence of ownership, i.e., that
       Ngan owned the bitcoin in 1HQ3 prior to seizure so that it is now part of Ngan’s
       bankruptcy estate. At best, their verified claims and declarations establish that the
       Battle Born parties have ownership rights to the bankruptcy estate of Ngan, who
       they believe is or is associated with Individual X. . . . They provide nothing beyond
       speculation that Ngan had some association with Individual X, and they offer
       nothing to suggest how Ngan would have come into ownership of the bitcoin in
       1HQ3. Given the lack of evidence in the record, even without considering the
       government’s declaration, the district court correctly held that no reasonable jury
       could find that the Battle Born parties have a colorable claim of ownership as to the
       Defendant Property sufficient to confirm standing.

Battle Born, 2023 WL 5319258, at *2; see also id. at *3 (“The district court did not err by requiring

the Battle Born parties to connect their ownership interest to that of Individual X.”).

IV.    FOIA Request

       About two months after the Ninth Circuit issued its opinion, on October 19, 2023, Plaintiff

submitted the following FOIA request:

       On behalf of Battle Born Investments Company, LLC, I hereby request under the
       Freedom of Information Act copies of records and documents showing (1) the name


                                                  4
         Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 9 of 14




        of the person who signed a Consent and Agreement to Forfeiture with the U.S.
        Attorney’s Office, Northern District of California, on or about November 3, 2020,
        concerning a cryptocurrency wallet referred to as 1HQ3 in United States v.
        Approximately 69,370 Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D. Cal.); (2)
        the name of any person believed to have owned, possessed, or controlled that
        wallet; and (3) the name of the person referred to as “Individual X” in that case.

FOIA Req., ECF No. 15-3; see also Compl. ¶ 13, ECF No. 1.

        Plaintiff filed suit on January 8, 2024. Compl., ECF No. 1. The parties have conferred and

agree that the sole issue is the identity of Individual X referenced in one document: the November

3, 2020, Consent and Agreement to Forfeiture referenced above. 1

                                        LEGAL STANDARD

        “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). A dispute is genuine if a reasonable factfinder could return a verdict for the

nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A fact is material if

it might affect the outcome of the suit under the governing law. Id. Although all inferences are

taken in a light most favorable to the nonmoving party, a party opposing summary judgment may

not rest on allegations or denials from its pleadings but “must set forth specific facts showing that

there is a genuine issue for trial.” Id. at 255-56.


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        It is questionable whether Plaintiff submitted a valid FOIA request, as the request seems to
seek an answer to a question – who is Individual X? – rather than documents. Jordan v. Drug Enf't
Admin., Civ. A. No. 22-2195 (JEB), 2023 WL 2809132, at *3 (D.D.C. Apr. 6, 2023) (finding
request seeking identity of DEA agent and date investigation was opened was not valid FOIA
request because it sought answers to questions not documents). That said, the parties have been
able to narrow the issue, so Defendant does not make the argument in this brief.

        Additionally, in the parties’ April 15, 2024, Joint Status Report, Defendant stated that it
was withholding all of the document under various exemptions. See Joint States Report (Apr. 15,
2024), ECF No. 12. Defendant has since determined that it had previously released the document
with redactions in response to a prior FOIA request. Thus, Defendant is no longer withholding all
of the document, but only parts of it under Exemptions 6, 7(C), and 7(F).



                                                      5
        Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 10 of 14




       In a FOIA case, summary judgment may be granted “on the basis of agency affidavits if

they contain reasonable specificity of detail rather than merely conclusory statements, and if they

are not called into question by contradictory evidence in the record or by evidence of agency bad

faith.” Evans v. Fed. Bureau of Prisons, 951 F.3d 578, 584 (D.C. Cir. 2020) (citation omitted).

                                           ARGUMENT

V.     Exemptions 6 and 7(C)

       Exemption 6 protects from disclosure “personnel and medical files and similar files the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

5 U.S.C. § 552(b)(6). Exemption 7(C) protects from disclosure “records or information compiled

for law enforcement purposes, but only to the extent that the production of such law enforcement

records or information . . . could reasonably be expected to constitute an unwarranted invasion of

personal privacy[.]”) 5 U.S.C. § 552(b)(7)(C). When information is claimed to be exempt from

disclosure under both Exemption 6 and 7(C), courts “focus . . . on Exemption 7(C) because it

provides broader privacy protection than Exemption 6 and thus establishes a lower bar for

withholding material.” Citizens for Resp. & Ethics in Wash. (“CREW”) v. Dep’t of Just., 854 F.3d

675, 681 (D.C. Cir. 2017). So, when agencies rely on both Exemptions 6 and 7(C) for the same

material, the Court need not “consider Exemption 6 separately[.]” Roth v. Dep’t of Just., 642 F.3d

1161, 1168 (D.C. Cir. 2017).

       As a threshold matter, the agency invoking Exemption 7(C) must demonstrate the withheld

records were “compiled for law enforcement purposes.” 5 U.S.C. § 552(b)(7). If this threshold is

cleared, the agency must demonstrate that “(1) disclosure could ‘reasonably be expected to

constitute an unwarranted invasion of privacy’ and (2) the ‘personal privacy interest’ is not

‘outweighed by the public interest in disclosure.’” Elec. Priv. Info. Ctr. v. Dep’t of Just., 18 F.4th

712, 718 (D.C. Cir. 2021) (quoting Nat’l Archives & Recs. Admin. v. Favish, 541 U.S. 157, 160


                                                  6
        Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 11 of 14




(2004)). Once the agency shows that the “privacy concerns addressed by Exemption 7(C) are

present,” the party seeking disclosure must show “that the public interest sought to be advanced is

a significant one, an interest more specific than having the information for its own sake,” and that

“the information is likely to advance that interest.” Id. Further, “the only public interest relevant

for purposes of Exemption 7(C) is one that focuses on the citizens’ right to be informed about what

their government is up to.” Groenendal v. Exec. Off. for U.S. Att’ys, Civ. A. No. 20-1030 (DLF),

2024 WL 1299333, at *9 (D.D.C. Mar. 27, 2024) (quoting Sussman v. Marshals Serv., 494 F.3d

1106, 1115 (D.C. Cir. 2007) (cleaned up)).

       The D.C. Circuit has held that “individuals have an obvious privacy interest cognizable

under Exemption 7(C) in keeping secret the fact that they were subjects of a law enforcement

investigation.” Id. (quoting CREW v. Dep’t of Just., 854 F.3d 675, 682 (D.C. Cir. 2017). “[W]here

individuals have been investigated but not charged with a crime,” disclosure of material properly

exempt under Exemption 7(C) “represents a severe intrusion on the privacy interests of the

individual[ ] in question.” Jud. Watch, Inc. v. Nat’l Archives & Recs. Admin., 876 F.3d 346, 349

(D.C. Cir. 2017) (quoting Fund for Const. Gov’t v. Nat’l Archives & Recs. Serv., 656 F.2d 856, 866

(D.C. Cir. 1981)).

       Here, in line with D.C. Circuit precedent, the Agency determined that “Individual X” had

a significant privacy interest in keeping his or her identity secret, considering how he or she was

the subject of a law enforcement investigation. See Hudgins Decl. ¶ 14. Also, in this instance, the

document requested by Plaintiff would identify an individual, who is accused of theft of several

thousand Bitcoins that had a value of over $1 billion when seized. Id. ¶ 25. The Bitcoin was stolen

by “Individual X” from addresses at Silk Road, the most sophisticated and extensive criminal

marketplace on the Internet. Id. ¶ 26. Thus, this threat of harm is heightened when the goods are




                                                 7
        Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 12 of 14




believed to be stolen proceeds from criminal activity. Id. ¶ 27. Moreover, disclosing the identity

of targets of law enforcement investigations “can subject those identified to embarrassment and

potentially more serious reputational harm,” and “the mention of an individual's name in a law

enforcement file . . . carries a stigmatizing connotation[.]” Elec. Priv. Info. Ctr., 18 F.4th at 719.

During the administrative proceedings, Plaintiff stated that “[n]o FOIA exemption authorizes the

Government to conceal the identity of a person who forfeited, owned, possessed, or controlled the

wallet worth approximately $2 billion,” and that “[t]here is no valid privacy expectation,” but such

a position ignores longstanding binding D.C. Circuit precedent.

       Further, there is no public interest that would outweigh the privacy interest of Individual X

in withholding his or her identity. Throughout these proceedings, Plaintiff has repeatedly referred

to a press release where the United States acknowledged that it filed a civil action to forfeit the

cryptocurrency that Individual X stole, but the United States never released the name of the person

identified as Individual X in the press release or otherwise in court proceedings. Plaintiff has not

provided any justification that there is a public interest in the identity of Individual X. In truth, it

appears that the main reason for this FOIA request is Plaintiff’s private interests. As described

above, Plaintiff is trying to tie the bankruptcy proceedings to Individual X and thus have standing

in the civil forfeiture proceedings to pursue a claim for the billions of dollars in seized

cryptocurrency.

       Lastly, the context and purpose of the information sought but withheld manifestly satisfies

the foreseeable harm standard. Groenendal, 2024 WL 1299333, at *10 (finding foreseeable harm

under Exemptions 6 and 7(C) based on context and purpose of withholdings even though agency

did not expressly address foreseeable harm); see also Reps. Comm. for Freedom of the Press v.

FBI, 3 F.4th 350, 372 (D.C. Cir. 2021) (“The very context and purpose of those communications




                                                   8
        Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 13 of 14




bearing on sensitive undercover operations in the midst of a policy crisis make the foreseeability

of harm manifest.”).

VI.    Exemption 7(F)

       Exemption 7(F) protects from disclosure “records or information compiled for law

enforcement purposes, but only to the extent that the production of such law enforcement records

or information . . . could reasonably be expected to endanger the life or physical safety of any

individual[.]” 5 U.S.C. § 552(b)(7)(F). “That language is very broad.” Pub. Emps. for Env’t Resp.

v. U.S. Section, Int’l Boundary & Water Comm’n, U.S.-Mexico, 740 F.3d 195, 205 (D.C. Cir. 2014).

“The exemption does not require that a particular kind of individual be at risk of harm; any

individual will do.” Id. (internal quotation marks omitted). “Disclosure need not definitely

endanger life or physical safety; a reasonable expectation of endangerment suffices.” Id. “Unlike

Exemption 7(C), which involves a balancing test, Exemption 7(F) is an absolute ban against the

disclosure of certain information, and, within limits, courts defer to the agency’s assessment of

danger.” ACLU v. Fed. Bureau of Prisons, Civ. A. No. 20-2320 (RBW), 2022 WL 17250300, at *18

(D.D.C. Nov. 28, 2022) (cleaned up).

       Here, the Agency determined that disclosing the identity of Individual X could reasonably

be expected to endanger his or her life or physical safety. See Hudgins Decl. ¶¶ 26-28. As described

above, Individual X stole cryptocurrency from the Silk Road, which was “utilized by thousands of

drug dealers and other vendors to distribute hundreds of kilograms of illegal drugs and other

unlawful goods and services to well over 100,000 buyers, and to launder hundreds of millions of

dollars derived from these illegal transactions.” Approximately 69,370 Bitcoin, 2022 WL 888655,

at *1. According to an investigation conducted by the Criminal Investigation Division of the

Internal Revenue Service and the U.S. Attorney’s Office for the Northern District of California,

when Ulbricht became aware of Individual X’s online identity, he “threatened Individual X for


                                                 9
        Case 1:24-cv-00067-BAH Document 15 Filed 06/18/24 Page 14 of 14




return of the cryptocurrency to Ulbricht.” Id. While Ulbricht is currently in custody, it is reasonable

to expect that the life or physical safety of Individual X, who stole billions of dollars’ worth of

cryptocurrency from a criminal enterprise, could be endangered if his or her identity were revealed.

The foreseeable harm under the circumstances, further, is manifestly apparent from the context.

Groenendal, 2024 WL 1299333, at *10; Reps. Comm., 3 F.4th at 372.

                                          CONCLUSION

       The Court should grant Defendant’s motion for summary judgment for the reasons above.



Date: June 18, 2024                                Respectfully submitted,
      Washington, DC
                                                   MATTHEW M. GRAVES, D.C. Bar # 481052
                                                   United States Attorney

                                                   BRIAN P. HUDAK
                                                   Chief, Civil Division

                                                   By:        /s/ Sam Escher
                                                         SAM ESCHER, D.C. Bar # 1655538
                                                         Assistant United States Attorney
                                                         601 D Street, N.W.
                                                         Washington, D.C. 20530
                                                         (202) 252-2531
                                                         Sam.Escher@usdoj.gov

                                                   Attorneys for the United States of America




                                                  10
